Case 8:24-cr-00211-TDC Document 42 Filed 09/10/24 Pagei1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v. CRIMINAL NO: TDC-24-211
HOAU-YAN WANG,

Defendant.

ORDER

Upon review of the government’s September 9, 2024 Consent Motion to Exclude Time
Under the Speedy Trial Act and based on the facts and arguments provided in the motion, the
Court finds that pursuant to 18 U.S.C. § 3161(h), the ends of justice served by the granting of the
requested exclusion of the time period identified in the motion outweigh the interests of the public
and the Defendant in a speedy trial because the additional time is needed to allow the Defendant
to properly review discovery, for the Defendant to prepare and file any necessary pretrial motions,
and for the parties to engage in plea discussions.

Accordingly, it is hereby ORDERED that:

i, The September 9, 2024 Consent Motion to Exclude Time Under the Speedy Trial
Act is GRANTED.

2. The time period from and including August 30, 2024 to November 1, 2024 is
excluded in computing the time within which the trial in the matter must commence under the

Speedy Trial Act.

THEODORE D. GAH
United States Di

Date: September /6 , 2024

